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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION

ln re ACCREDO HEALTH, INC. Civil Action No. 03-2216-BP

 

)
SECURITIES LITIGATION )
) CLASS ACTION
This Document Relates To: )
) ., ORDER GRANTING PRO
ALL ACTIONS_ ) HAC VICE ADMISSION OF DAVID W.
) MITCHELL
)

 

\”his document entered on the docket shea in cor‘r'.pisance

/ ‘ ,.
with Rule 58 and/or rem FRCP en §§ " “'OS f/jj/
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The Motion of B.J. Wade Requesting Admission of David W. Mitchell Pro Hac Vice to
represent Lead Plaintiffs in this litigation was brought before this Court for consideration Without a
bearing After reviewing the motion and supporting papers, the Court finds that the Same should be
GRANTED.

Upon unopposed motion showing adequate cause, IT IS SO ORDERED that David W.

Mitchell is hereby admitted pro hac vice to represent Lead Plaintiffs.

/
DATE ; 003 , 2005

 

- TED STATES DISTRlCT JUDGE

Submitted by:

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& WYATT, P.C.
B.J. WADE, #5182

 

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